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                     United States District Court
                      District of Massachusetts

                                    )
Anthony James Dew,                  )
                                    )
          Plaintiff,                )
                                    )
          v.                        )     Civil Action No.
                                    )     18-11398-NMG
City of Boston, et al.,             )
                                    )
          Defendants.               )
                                    )


                          MEMORANDUM & ORDER


GORTON, J.

    This case involves a suit brought under 42 U.S.C. § 1983 by

Anthony Dew, a pro se prisoner, against the City of Boston, its

Police Commissioner and various Boston police officers in their

official and individual capacities (collectively, “defendants”).

    In December, 2014, the Boston Police Department (“BPD”)

arranged for a confidential informant to purchase drugs from the

target of a BPD investigation.     Following the purchase, a BPD

field test revealed the subject drugs to be heroin.         The

confidential informant identified Anthony Dew as the individual

who sold him the heroin and in January, 2015, BPD obtained a

warrant to search Dew’s apartment.

    In June, 2016, Dew pled guilty to 19 criminal charges,

including human trafficking, assault and battery, assault and

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battery with a dangerous weapon and distribution of Class A, B

and C controlled substances.

    In the instant case, Dew alleges that the defendants

violated his rights under § 1983 by (1) searching his home

pursuant to an invalid warrant based on allegedly fabricated

probable cause and (2) failing to implement meaningful policies

to discourage lawless official conduct.

    Magistrate Judge Boal issued a Report and Recommendation

(“R&R”) on August 8, 2019, recommending that this Court dismiss

Dew’s claims against all defendants (Docket Entry No. 59).            Dew

filed an objection to the R&R on August 26, 2019 (Docket Entry

No. 62).

    In his objection, Dew, who represents himself pro se,

appears to make three arguments: (1) his criminal conviction is

not yet final; (2) success on his § 1983 claim would not

necessitate invalidating his plea; and (3) he is entitled to

post-conviction DNA testing and forensic analysis to show the

search warrant was based on fabricated evidence.

    With respect to the finality of his criminal conviction,

Dew directs the Court to his application for further appellate

review by the Massachusetts Supreme Judicial Court (“the SJC”).

He correctly points out that his application for further

appellate review by the SJC was still pending when Magistrate


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Judge Boal issued her R&R.        On September 13, 2019, however, the

SJC denied Dew’s application.        Accordingly, Dew’s conviction is

final.

    Dew’s remaining objections are either irrelevant or

unpersuasive.      With respect to his second objection, Dew’s

§ 1983 claim is barred by the favorable termination doctrine for

the reasons identified by Magistrate Judge Boal in the R&R at

pages 8-10.

    Dew’s third objection is properly construed as proffering

additional argument in support of his pending Motion For Access

to Post Conviction DNA Testing (Docket Entry No. 57).            In his

motion, Dew seeks discovery relating to the chain of custody for

the drugs purchased by the confidential informant as well as DNA

testing of the drug bags.        Dew apparently contests whether the

drugs were actually tested by the state lab and whether his DNA

shows up on the drug bags.

    Dew’s motion for discovery ignores Magistrate Judge Boal’s

previous order finding that Dew cannot establish good cause for

discovery until after a favorable ruling on defendants’ motions

to dismiss (Docket Entry No. 51).         Dew provides no additional

reason for why discovery should now be allowed apart from his

threadbare allegation that such additional discovery might




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produce potentially exculpatory evidence.       In any event, the

motion will be moot after Dew’s claims are dismissed.

    In short, Dew’s objections are overruled and Magistrate

Judge Boal’s R&R (Docket Entry No. 59) is accepted and adopted.



So ordered.


                                       /s/ Nathaniel M. Gorton ____
                                       Nathaniel M. Gorton
                                       United States District Judge

Dated September 18, 2019




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